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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS



SUSAN SEARLE,

                   Plaintiff,

v.                                                   CIVIL ACTION NO. 1:13-cv-11916-FDS

RGS FINANCIAL, INC.,

                   Defendant.



                        ANSWER TO FIRST AMENDED COMPLAINT

       The defendant RGS Financial, Inc. (“RGS”) answers the plaintiff’s first amended

complaint as follows:

                                        JURISDICTION

       1.      RGS admits attempting to collect a debt, but denies the remaining allegations
contained in this paragraph.

       2.       RGS denies the allegations contained in this paragraph.

       3.       RGS denies the allegations contained in this paragraph.

       4.       RGS denies the allegations contained in this paragraph.

                                            PARTIES

         5.     RGS admits the plaintiff lives in Merrimac, but denies the remaining allegations
in this paragraph.

       6.     RGS admits that it has a place of business in Texas and that it is registered to do
business in Massachusetts, but denies the remaining allegations contained in this paragraph.

       7.       RGS denies the allegations contained in this paragraph.

       8.       RGS denies the allegations contained in this paragraph.

       9.       RGS denies the allegations contained in this paragraph.

       10.      RGS denies the allegations contained in this paragraph.
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       11.     RGS admits the allegations contained in this paragraph, and admits it was
attempting to collect an unpaid debt owed by the plaintiff.

                                 FACTUAL ALLEGATIONS

       12.     RGS repeats and incorporates all of its prior responses.

       13.     RGS lacks knowledge or information sufficient to form a belief as to the truth of
               the allegations in this paragraph.

        14.     RGS admits it reviewed the plaintiff’s credit history for the permissible purpose
of debt collection, but denies the remaining allegations contained in this paragraph.

        15.     RGS admits it reviewed the plaintiff’s credit history for the permissible purpose
of debt collection, but denies the remaining allegations contained in this paragraph.

        16.     RGS admits it reviewed the plaintiff’s credit history for the permissible purpose
of debt collection, but denies the remaining allegations contained in this paragraph.

        17.     RGS admits it reviewed the plaintiff’s credit history for the permissible purpose
of debt collection, but denies the remaining allegations contained in this paragraph.

       18.     RGS denies the allegations contained in this paragraph.

        19.     RGS lacks knowledge or information sufficient to form a belief as to the truth of
the allegations in this paragraph.

       20.     RGS denies the allegations contained in this paragraph.

        21.     RGS lacks knowledge or information sufficient to form a belief as to the truth of
the allegations in this paragraph.

        22.     RGS lacks knowledge or information sufficient to form a belief as to the truth of
the allegations in this paragraph.

       23.     RGS denies the allegations contained in this paragraph.

       24.     RGS denies the allegations contained in this paragraph.

        25.     RGS lacks knowledge or information sufficient to form a belief as to the truth of
the allegations in this paragraph.

       26.     RGS denies the allegations contained in this paragraph.

       27.     RGS admits the allegations contained in this paragraph.

       28.     RGS admits the allegations contained in this paragraph.

       29.     RGS admits the allegations contained in this paragraph.

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 30.   RGS denies the allegations contained in this paragraph.

 31.   RGS denies the allegations contained in this paragraph.

                                   COUNT I

           VIOLATIONS OF THE FDCPA 15 USC § 1692, et seq.

 32.   RGS repeats and incorporates all of its prior responses.

 33.   RGS denies the allegations contained in this paragraph.

 34.   RGS denies the allegations contained in this paragraph.

                                   COUNT II

VIOLATION OF THE MASSACHUSETTS CONSUMER PROTECTION ACT,
                   M.G.L. C. 93A § 2, et seq.

 35.   RGS repeats and incorporates all of its prior responses.

 36.   RGS denies the allegations contained in this paragraph.

 37.   RGS denies the allegations contained in this paragraph.

                                  COUNT III

VIOLATION OF THE FAIR CREDIT REPORTING ACT 15 USC § 1681, et seq.

 38.   RGS repeats and incorporates all of its prior responses.

 39.   RGS denies the allegations contained in this paragraph.

                                   COUNT IV

  VIOLATION OF THE MASSACHUSETTS FAIR CREDIT REPORTING
                   MGL C. 93 § 50-68, et seq.

 40.   RGS repeats and incorporates all of its prior responses.

 41.   RGS denies the allegations contained in this paragraph.

 42.   RGS denies the allegations contained in this paragraph.




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                                  AFFIRMATIVE DEFENSES

                                               First

        RGS says that the complaint should be dismissed pursuant to Rule 12(b)(6) for failure to
state a claim upon which relief may be granted.

                                              Second

            RGS says that all claims are barred by the relevant statutes of limitation.

                                               Third

        RGS says that the complaint should be dismissed for failure to comply with the
procedural requirements of G.L. c. 93A. RGS further says that its conduct at all times was
neither deceptive nor unfair.

                                              Fourth

       RGS says that its actions as to the plaintiff’s credit history were authorized by law and
were for a permissible purpose.

                                               Fifth

      RGS says that the complaint should be dismissed insofar as the Plaintiff has suffered no
damages.

                                               Sixth

       RGS states that any alleged violation occurred as the result of a bona fide error,
notwithstanding the maintenance of procedures reasonably adapted to avoid such errors.

                                              Seventh

       RGS says that all claims are barred as a matter of fact and law for the reasons given in its
motion to dismiss.

                                              Eighth

       RGS says that all claims are barred by the plaintiff’s failure to mitigate, and by the
doctrines of waiver, estoppel, ratification, and laches.




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       For the foregoing reasons, the defendant requests that the Court dismiss all claims with

prejudice, award it all of its attorneys’ fees and costs, and grant such other and further relief as

may be just.


                                                   RGS FINANCIAL, INC.
                                                   By its attorneys,

                                                   /s/ John J. O’Connor
                                                   John J. O’Connor
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                                 CERTIFICATE OF SERVICE

        I, John J. O’Connor, do hereby certify that I have, this 14th day of March, 2014, served
the foregoing document on all counsel of record, by causing a copy thereof, to be sent
electronically to the registered participants in this case as identified on the Notice of Electronic
Filing (NEF).

                                               /s/ John J. O’Connor
                                               John J. O’Connor




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